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(S.B. 1582)

                                                         LAW NO. 66
                                                        JULY 13, 2020
To amend subparagraphs (a) (b) (c) (d) and (e) and to delete subparagraph (f) of Article 6.14 of
      Law 20-2017, as amended, known as the "Puerto Rico Department of Public Safety Act",
      in order to clarify the scope and parameters of crime and the penalties established for
      breaching, disregarding, or disobeying an Executive Oder by the Governor of Puerto Rico,
      having decreed a state of emergency or disaster or implemented a curfew..


                                           STATEMENT OF PURPOSE
        Law 20-2017, known as the "Puerto Rico Department of Public Safety Act" 1, was enacted
to ensure public safety for everyone in Puerto Rico, protecting the enjoyment of the free exercise
of rights. It is imperative that Puerto Ricans have confidence that, in the event of an emergency,
the Government and state is available and ready to provide immediate and adequate assistance to
save their lives, health, family and property. It is also necessary for the First Executive, the
Secretary of Public Security, and all emergency response personnel to have the necessary tools to
provide assistance and protection to citizens. In order for this enforcement to be effective, it is
equally important that the people are warned of both the powers of public security agencies and
the prohibited conduct, once an emergency or disaster is duly declared by Executive Order.

        For this purpose, on 5, April 2020, Law 35-2020, was enacted to amend Article 6.14 of
Law 20-2017. The amendment added subparagraphs (e) and (f) in order to address two concerns.
The first is that, despite the measures enacted to preserve the health, life and safety of all Puerto
Ricans, through the Executive Orders issued to contain the exponential spread of COVID-19, some
citizens did not abide by the guidelines, endangering their lives and that of other citizens
negligently and irresponsibly. The second is the need to prohibit people from using social media
or mass media to disseminate false information, with the intention of creating confusion, panic or
collective public hysteria in our country while a state of emergency, disaster, or curfew is in force.
Such conduct undermines the safety of the people and social order, and endangers the health and
lives of citizens.

       Similarly, and committed to the spirit of Law 20-2017, we consider it necessary to re-
evaluate Article 6.14 in a comprehensive manner to amend it in order to clarify its scope and
application, as well as to harmonize its provisions.




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    "Puerto Rico Department of Public Safety Act", Law No. 20 of April 10, 2017, as amended.

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BE IT DECREED BY THE LEGISLATIVE ASSEMBLY OF PUERTO RICO:

       Section 1.–Amends subparagraphs (a), (b), (c), (d) and (e), and deletes section (f) of Article
6.14 of Law 20-2017, as amended, known as the "Law of the Department of Public Safety of
Puerto Rico", to read as follows:

          "Article 6.14.-Violations and Penalties

        Any person, natural or legal, who shall perform any of the following acts on purpose,
knowingly or recklessly after the Governor of Puerto Rico has decreed by Executive Order an
emergency or disaster, shall be punished with a penalty of imprisonment not exceeding six (6)
months or a fine not exceeding five thousand dollars ($5,000) or both sentences at the discretion
of the court:

        (a) Gives a warning or false alarm, knowing that the information is false, in relation to the
imminent occurrence of a catastrophe in Puerto Rico, or disseminates, publishes, transmits,
transfers or circulates through any means of communication, including the media, social networks,
or any other means of dissemination, publication or distribution of information, a notice or a false
alarm, knowing that the information is false, when as a result of its conduct it puts the life, health,
bodily integrity or safety of one or more persons at imminent risk, or endangers public or private
property.

        In the event that the notice or false alarm results in damage to the public purse, to third
parties, or public or private property exceeding ten thousand dollars ($10,000), or where the
conduct results in injury or physical harm of another, that person shall have committed a felony
with a penalty of imprisonment for a fixed term of three (3)years.

      (b) Does not follow the evacuation orders of the civilian population issued by the
Department or its Bureau, as part of the execution of its plan in cases of emergency or disaster.

       (c) Obstructs preventive measures ordered by the Governor or evacuation, search,
reconstruction or damage assessment and investigation by federal, state, or municipal agencies.

       (d) Persists in carrying out any activity that endangers his/her life or that of others, after
being alerted or prevented by the authorities.

          (e) Violates, ignores, or disobeys a curfew while a state of emergency or disaster is in effect.

       For purposes of this Article, a curfew is defined as an order decreed by Executive Order of
the Governor of Puerto Rico, addressed to residents or people in Puerto Rico to remain in their
homes. The Executive Order shall explicitly establish the schedule during which the people must
remain in the home, any additional restrictions of general application, exceptions to the curfew,
and the term of effect of the order. "




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          Section 2.-Separability

        If any clause, paragraph, subparagraph, sentence, word, letter, article, layout, section,
subsection, title, article; in their collective "a part"; of this Law be annulled or declared
unconstitutional, the decision, opinion or judgment given to that effect shall not affect, prejudice
or invalidate the rest of this Law. The effect of that judgment shall be limited only to the part which
has thus been annulled or declared unconstitutional. If the application to a person or to a
circumstance of any part of this Law is invalidated or declared unconstitutional, the decision,
opinion or judgment rendered to that effect shall not affect or invalidate the application of the rest
of this Law to those persons or circumstances in which it may be validly applied.

          Section 3. -This Law will go into effect immediately after its approval.




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